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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


  In re:                                        §         CASE NO. 22-33553
                                                §
  ALEXANDER E. JONES,                           §         CHAPTER 11
                                                §
           Debtor.                              §



            UNITED STATES TRUSTEE’S WITNESS AND EXHIBIT LIST
                        FOR MARCH 27, 2023 HEARING

       Kevin M. Epstein, the United States Trustee for Region 7 (the “U.S. Trustee”) files this

Witness and Exhibit List for the hearing scheduled for March 27, 2023 at 1:00 p.m., Central Time

(or as such hearing may be continued or rescheduled, the “Hearing”).

                                        WITNESSES

The U.S. Trustee may examine:

    1. Any witnesses called or designated by any other party; and

    2. Any witness necessary to rebut testimony of a witness called or designated by any other
       party.
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                                           EXHIBITS

The U.S. Trustee may offer into evidence any one or more of the following exhibits at the
Hearing:

Ex.                Description                  Offered    Objection    Admitted/    Disposition
 #                                                                        Not
                                                                        Admitted
      All exhibits presented or designated by
      any other parties for the hearing
      All rebuttal exhibits


        The U.S. Trustee reserves the right to supplement or amend this Witness and Exhibit List
at any time prior to the Hearing.

Dated: March 23, 2023                               Respectfully submitted,

                                                    KEVIN M. EPSTEIN
                                                    UNITED STATES TRUSTEE

                                                    By: /s/Jayson B. Ruff
                                                    Jayson B. Ruff
                                                    Trial Attorney
                                                    Michigan Bar No. P69893
                                                    515 Rusk, Ste. 3516
                                                    Houston, TX 77002
                                                    Telephone: (713)718-4662
                                                    Facsimile: (713)718-4670
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                               CERTIFICATE OF SERVICE

I hereby certify that on March 23, 2023, I caused a true and correct copy of the foregoing UNITED
STATES TRUSTEE’S WITNESS AND EXHIBIT LIST FOR MARCH 27, 2023 HEARING
to be served upon all parties receiving electronic notice via ECF.

                                                    /s/ Jayson B. Ruff
                                                    Jayson B. Ruff
